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  UNITED STATES DISTRICT COURT
  DISTRICT OF NEW JERSEY

   CommScope, Inc.,

                                Plaintiff,                  Case No. 2:19-cv-15962-
                                                                  MCA-LDW

                          v.

   Rosenberger Technology (Kunshan) Co. Ltd.;
   Rosenberger Asia Pacific Electronic Co., Ltd.;
   Rosenberger Technology LLC; Rosenberger USA
   Corp., Rosenberger North America Pennsauken,
   Inc.; Rosenberger Site Solutions, LLC; Rosenberger
   Hochfrequenztechnik GmbH & Co. KG; Northwest
   Instrument, Inc.; CellMax Technologies AB; Janet
   Javier; and Robert Cameron,
                                                                 ANSWER
                                Defendants.                TO SECOND AMENDED
                                                               COMPLAINT


        PLEASE TAKE NOTICE that the undersigned counsel, duly admitted to

  practice in this Court, hereby appears in the above-captioned action for Defendant

  CellMax Technologies AB.

                                 INTRODUCTION

        1.    CellMax denies the allegations contained in paragraph 1 of the Second

  Amended Complaint.

        2.    CellMax denies the allegations contained in paragraph 2 of the Second

  Amended Complaint, except denies knowledge or information sufficient to form a
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  belief as to whether other “Rosenberger Defendants” compete with CommScope or

  as to all “Rosenberger Defendants’” combined revenue.

        3.    CellMax denies the allegations contained in paragraph 3 of the Second

  Amended Complaint, except denies knowledge or information sufficient to form a

  belief as to the acts of any other “Rosenberger Defendants.”

        4.    CellMax denies the allegations contained in paragraph 4 of the Second

  Amended Complaint, except denies knowledge or information sufficient to form a

  belief as to the acts of any other “Rosenberger Defendants.”

        5.    CellMax denies the allegations contained in paragraph 5 of the Second

  Amended Complaint, except denies knowledge or information sufficient to form a

  belief as to the acts of any other “Rosenberger Defendants.”

        6.    CellMax denies the allegations contained in paragraph 6 of the Second

  Amended Complaint, except denies knowledge or information sufficient to form a

  belief as to the acts of any other “Rosenberger Defendants.”

        7.    CellMax denies the allegations contained in paragraph 7 of the Second

  Amended Complaint, except denies knowledge or information sufficient to form a

  belief as to the acts of any other “Rosenberger Defendants.”

        8.    CellMax denies the allegations contained in paragraph 8 of the Second

  Amended Complaint and refers to the Second Amended Complaint for its contents.

                                   THE PARTIES
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        9.    CellMax denies knowledge or information sufficient to form a belief

  as to the allegations contained in paragraph 9 of the Second Amended Complaint.

        10.   CellMax denies knowledge or information sufficient to form a belief

  as to the allegations contained in paragraph 10 of the Second Amended Complaint.

        11.   CellMax denies knowledge or information sufficient to form a belief

  as to the allegations contained in paragraph 11 of the Second Amended Complaint.

        12.   CellMax denies knowledge or information sufficient to form a belief

  as to the allegations contained in paragraph 12 of the Second Amended Complaint.

        13.   CellMax denies the allegations contained in paragraph 13 of the

  Second Amended Complaint, except denies knowledge or information sufficient to

  form a belief as to the acts of any other “Rosenberger Defendants.”

        14.   CellMax denies knowledge or information sufficient to form a belief

  as to the allegations contained in paragraph 14 of the Second Amended Complaint.

        15.   CellMax denies knowledge or information sufficient to form a belief

  as to the allegations contained in paragraph 15 of the Second Amended Complaint.

        16.   CellMax denies knowledge or information sufficient to form a belief

  as to the allegations contained in paragraph 16 of the Second Amended Complaint.

        17.   CellMax denies knowledge or information sufficient to form a belief

  as to the allegations contained in paragraph 17 of the Second Amended Complaint.
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        18.   CellMax denies knowledge or information sufficient to form a belief

  as to the allegations contained in paragraph 18 of the Second Amended Complaint.

        19.   CellMax denies knowledge or information sufficient to form a belief

  as to the allegations contained in paragraph 19 of the Second Amended Complaint.

        20.   CellMax denies knowledge or information sufficient to form a belief

  as to the allegations contained in paragraph 20 of the Second Amended Complaint.

        21.   CellMax denies knowledge or information sufficient to form a belief

  as to the allegations contained in paragraph 21 of the Second Amended Complaint.

        22.   CellMax denies the allegations contained in paragraph 22 of the

  Second Amended Complaint, except admit that CellMax is an entity organized

  under the laws of Sweden, has its principal place of business at Gullfossgatan 1A

  & 1B, 164 40 Kista, Stockholm County, Sweden, is a subsidiary of Rosenberger

  Germany, is engaged in antenna design and development, and had limited

  involvement with Rosenberger Site Solutions, LLC’s sale of Rosenberger Base

  Station Antennas to T-Mobile, which was limited to receiving purchase orders

  from T-Mobile for the Rosenberger Base Station Antennas, transmitting the

  purchase orders to Defendant Rosenberger Site Solutions, LLC, invoicing T-

  Mobile, collecting payments, and forwarding the payments to Defendant

  Rosenberger Site Solutions, LLC (collectively, “Invoicing Activities”).
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        23.    CellMax denies knowledge or information sufficient to form a belief

  as to the allegations contained in paragraph 23 of the Second Amended Complaint.

        24.    CellMax denies knowledge or information sufficient to form a belief

  as to the allegations contained in paragraph 24 of the Second Amended Complaint.

                       SUBJECT MATTER JURISDICTION

        25.    Paragraph 25 of the Second Amended Complaint is premised on a

  legal conclusion to which no response is required. To the extent a response is

  required, CellMax denies the allegations contained in paragraph 25 of the Second

  Amended Complaint and refers to the Second Amended Complaint for its contents.

        26.    Paragraph 26 of the Second Amended Complaint is premised on a

  legal conclusion to which no response is required. To the extent a response is

  required, CellMax does not contest this Court’s subject matter jurisdiction at this

  time, but reserves the right to do so should it determine that this Court lacks

  subject matter jurisdiction.

                            PERSONAL JURISDICTION

        27.    Paragraph 27 of the Second Amended Complaint is premised on a

  legal conclusion to which no response is required. To the extent a response is

  required, CellMax denies knowledge or information sufficient to form a belief as to

  the allegations contained in paragraph 27 of the Second Amended Complaint.
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        28.    Paragraph 28 of the Second Amended Complaint is premised on a

  legal conclusion to which no response is required. To the extent a response is

  required, CellMax denies knowledge or information sufficient to form a belief as to

  the allegations contained in paragraph 25 of the Second Amended Complaint.

        29.    Paragraph 29 of the Second Amended Complaint is premised on a

  legal conclusion to which no response is required. To the extent a response is

  required, CellMax denies knowledge or information sufficient to form a belief as to

  the allegations contained in paragraph 29 of the Second Amended Complaint.

        30.    Paragraph 30 of the Second Amended Complaint is premised on a

  legal conclusion to which no response is required. CellMax denies the allegations

  contained in paragraph 30 of the Second Amended Complaint, except denies

  knowledge or information sufficient to form a belief as to the acts of any other

  “Rosenberger Defendants,” and states that it does not contest this Court’s personal

  jurisdiction over CellMax in this case.

        31.    Paragraph 31 of the Second Amended Complaint is premised on a

  legal conclusion to which no response is required. To the extent a response is

  required, CellMax denies knowledge or information sufficient to form a belief as to

  the allegations contained in paragraph 31 of the Second Amended Complaint.

        32.    CellMax denies the allegations contained in paragraph 32 of the

  Second Amended Complaint, except denies knowledge or information sufficient to
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  form a belief as to the acts of any other “Rosenberger Defendants,” refers to the

  relevant documents for their contents, and admits that it had limited involvement

  with Rosenberger Site Solutions, LLC’s sale of Rosenberger Base Station

  Antennas to T-Mobile, which was limited to receiving purchase orders from T-

  Mobile for the Rosenberger Base Station Antennas, transmitting the purchase

  orders to Defendant Rosenberger Site Solutions, LLC, invoicing T-Mobile,

  collecting payments, and forwarding the payments to Defendant Rosenberger Site

  Solutions, LLC (collectively, “Invoicing Activities”).

        33.    Paragraph 33 of the Second Amended Complaint is premised on a

  legal conclusion to which no response is required. To the extent a response is

  required, CellMax denies knowledge or information sufficient to form a belief as to

  the allegations contained in paragraph 33 of the Second Amended Complaint.

        34.    Paragraph 34 of the Second Amended Complaint is premised on a

  legal conclusion to which no response is required. To the extent a response is

  required, CellMax denies knowledge or information sufficient to form a belief as to

  the allegations contained in paragraph 34 of the Second Amended Complaint.

        35.    Paragraph 35 of the Second Amended Complaint is premised on a

  legal conclusion to which no response is required. To the extent a response is

  required, CellMax denies knowledge or information sufficient to form a belief as to

  the allegations contained in paragraph 35 of the Second Amended Complaint.
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        36.    CellMax denies the allegations contained in paragraph 36 of the

  Second Amended Complaint, except admits that it had limited involvement with

  Rosenberger Site Solutions, LLC’s sale of Rosenberger Base Station Antennas to

  T-Mobile, which was limited to receiving purchase orders from T-Mobile for the

  Rosenberger Base Station Antennas, transmitting the purchase orders to Defendant

  Rosenberger Site Solutions, LLC, invoicing T-Mobile, collecting payments, and

  forwarding the payments to Defendant Rosenberger Site Solutions, LLC

  (collectively, “Invoicing Activities”) and does not contest personal jurisdiction.

                                        VENUE

        37.    Paragraph 37 of the Second Amended Complaint is premised on a

  legal conclusion to which no response is required. To the extent a response is

  required, CellMax does not contest venue in the District of New Jersey.

                             FACTUAL BACKGROUND

  I.    CommScope is a Global Leader in the Wireless Infrastructure Industry

        38.    CellMax denies the allegations contained in paragraph 38 of the

  Complaint.

        39.    CellMax denies the allegations contained in paragraph 39 of the

  Complaint, except admits that BSAs sometimes can be complicated and valuable

  equipment and are sometimes attached to cellular towers or on rooftops.
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        40.    CellMax denies the allegations contained in paragraph 40 of the

  Complaint, except admits that BSAs sometimes use radio frequencies to exchange

  signals with mobile devices like cellphones and can receive and transmit radio

  signals at great distance with minimal interference.

                         CommScope’s Trade Secret Software

        41.    CellMax denies knowledge or information sufficient to form a belief

  as to the allegations contained in paragraph 41 of the Second Amended Complaint.

        42.    CellMax denies knowledge or information sufficient to form a belief

  as to the allegations contained in paragraph 42 of the Second Amended Complaint.

        43.    CellMax denies knowledge or information sufficient to form a belief

  as to the allegations contained in paragraph 43 of the Second Amended Complaint.

        44.    CellMax denies knowledge or information sufficient to form a belief

  as to the allegations contained in paragraph 44 of the Second Amended Complaint.

        45.    CellMax denies knowledge or information sufficient to form a belief

  as to the allegations contained in paragraph 45 of the Second Amended Complaint.

        46.    CellMax denies knowledge or information sufficient to form a belief

  as to the allegations contained in paragraph 46 of the Second Amended Complaint.

  II.   CommScope Invested Substantial Time, Effort, and Money to Develop
        Its BSA Trade Secrets, And Has Taken Reasonable Steps to Protect
        Them
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          47.   CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 47 of the Second Amended Complaint.

          48.   CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 48 of the Second Amended Complaint.

          49.   CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 49 of the Second Amended Complaint.

   III.   CommScope Invested Substantial Time, Effort, and Money to Develop
          Its BSA Trade Secrets, And Has Taken Reasonable Steps to Protect
          Them

   Rosenberger Targets CommScope’s Employees for Trade Secret Information

          50.   CellMax denies the allegations contained in paragraph 50 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

          51.   CellMax denies the allegations contained in paragraph 51 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

          52.   CellMax denies the allegations contained in paragraph 52 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.
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         53.    CellMax denies the allegations contained in paragraph 53 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         54.    CellMax denies the allegations contained in paragraph 54 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         55.    CellMax denies the allegations contained in paragraph 55 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         56.    CellMax denies the allegations contained in paragraph 56 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         57.    CellMax denies the allegations contained in paragraph 57 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants, and refers to the relevant

   documents for their contents.

       Rosenberger’s Misappropriation of CommScope’s Trade Secret Software

         58.    CellMax denies the allegations contained in paragraph 58 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.
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         59.    CellMax denies the allegations contained in paragraph 59 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         60.    CellMax denies the allegations contained in paragraph 60 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         61.    CellMax denies the allegations contained in paragraph 61 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         62.    CellMax denies the allegations contained in paragraph 62 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         63.    CellMax denies the allegations contained in paragraph 63 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         64.    CellMax denies the allegations contained in paragraph 64 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.
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         65.    CellMax denies the allegations contained in paragraph 65 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         66.    CellMax denies the allegations contained in paragraph 66 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         67.    CellMax denies the allegations contained in paragraph 67 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         68.    CellMax denies the allegations contained in paragraph 68 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         69.    CellMax denies the allegations contained in paragraph 69 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         70.    CellMax denies the allegations contained in paragraph 70 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.
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         71.    CellMax denies the allegations contained in paragraph 71 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         72.    CellMax denies the allegations contained in paragraph 72 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         73.    CellMax denies the allegations contained in paragraph 73 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         74.    CellMax denies the allegations contained in paragraph 74 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         75.    CellMax denies the allegations contained in paragraph 75 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants, and admits that it had limited

   involvement with Rosenberger Site Solutions, LLC’s sale of Rosenberger Base

   Station Antennas to T-Mobile, which was limited to receiving purchase orders

   from T-Mobile for the Rosenberger Base Station Antennas, transmitting the

   purchase orders to Defendant Rosenberger Site Solutions, LLC, invoicing T-
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   Mobile, collecting payments, and forwarding the payments to Defendant

   Rosenberger Site Solutions, LLC (collectively, “Invoicing Activities”).

         76.    CellMax denies the allegations contained in paragraph 76 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         77.    CellMax denies the allegations contained in paragraph 77 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         78.    CellMax denies the allegations contained in paragraph 78 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants and refers to Exhibit 21 for its

   contents.

         79.    CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 79 of the Complaint.

         80.    CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 80 of the Complaint.

         81.    CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 81 of the Complaint.
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         82.    CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 82 of the Complaint and refers to

   Exhibit 22 for its contents.

         83.    CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 83 of the Complaint.

         84.    CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 84 of the Complaint.

         85.    CellMax denies the allegations contained in paragraph 85 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         86.    CellMax denies the allegations contained in paragraph 86 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants and refers to Exhibit 23 for its

   contents.

         87.    CellMax denies the allegations contained in paragraph 87 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         88.    CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 88 of the Complaint.
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         89.    CellMax denies the allegations contained in paragraph 89 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         90.    CellMax denies the allegations contained in paragraph 90 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         91.    CellMax denies the allegations contained in paragraph 91 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendant or CommScope and refers to

   Exhibits 24 and 25 for their contents.

         92.    CellMax denies the allegations contained in paragraph 92 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         93.    CellMax denies the allegations contained in paragraph 93 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants, and refers to the relevant

   documents for their contents.

         94.    CellMax denies the allegations contained in paragraph 94 of the

   Second Amended Complaint, except denies knowledge or information sufficient to
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   form a belief as to the acts of any other Defendants, and refers to the relevant

   documents for their contents.

         95.    CellMax denies the allegations contained in paragraph 95 of the

   Second Amended Complaint as to its own actions and otherwise denies knowledge

   or information sufficient to form a belief as to the allegations contained in

   paragraph 91 of the Complaint.

         96.    CellMax denies the allegations contained in paragraph 96 of the

   Second Amended Complaint as to its own actions and otherwise denies knowledge

   or information sufficient to form a belief as to the allegations contained in

   paragraph 92 of the Complaint.

         97.    CellMax denies the allegations contained in paragraph 97 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants, and refers to the relevant

   documents for their contents.

         98.    CellMax denies the allegations contained in paragraph 98 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         99.    CellMax denies the allegations contained in paragraph 99 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.
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         100. CellMax denies the allegations contained in paragraph 100 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         101. CellMax denies the allegations contained in paragraph 101 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants or CommScope.

         102. CellMax denies the allegations contained in paragraph 102 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

   Rosenberger Misappropriation of CommScope’s Trade Secret Hardware

         103. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 103 of the Second Amended

   Complaint.

         104. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 104 of the Second Amended

   Complaint.

         105. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 105 of the Second Amended

   Complaint.
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         106. CellMax denies the allegations contained in paragraph 106 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         107. CellMax denies the allegations contained in paragraph 107 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         108. CellMax denies the allegations contained in paragraph 108 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants or CommScope.

       Rosenberger’s Misappropriation of CommScope’s Trade Secret Business
                                   Information

         109. CellMax denies the allegations contained in paragraph 109 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

    Rosenberger USA, the Rosenberger USA Office, Rosenberger Germany, NWI,
   and CellMax’s Involvement in Rosenberger’s Misappropriation of CommScope’s
                                  Trade Secrets

         110. CellMax denies the allegations contained in paragraph 110 of the

   Second Amended Complaint, except admit that Rosenberger Germany owns

   multiple companies in multiple countries.
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         111. CellMax denies the allegations contained in paragraph 111 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         112. CellMax denies the allegations contained in paragraph 112 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants, and refers to the relevant

   documents for their contents.

         113. CellMax denies the allegations contained in paragraph 113 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants, and refers to the relevant

   documents for their contents.

         114. CellMax denies the allegations contained in paragraph 114 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants, and refers to the relevant

   documents for their contents.

         115. CellMax denies the allegations contained in paragraph 115 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants, and refers to the relevant

   documents for their contents.
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         116. CellMax denies the allegations contained in paragraph 116 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants, and refers to the relevant

   documents for their contents.

         117. CellMax denies the allegations contained in paragraph 117 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         118. CellMax denies the allegations contained in paragraph 118 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants, and refers to the relevant

   documents for their contents.

         119. CellMax denies the allegations contained in paragraph 119 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         120. CellMax denies the allegations contained in paragraph 120 of the

   Second Amended Complaint, except admits it had limited involvement with

   Rosenberger Site Solutions, LLC’s sale of Rosenberger Base Station Antennas to

   T-Mobile, which was limited to receiving purchase orders from T-Mobile for the

   Rosenberger Base Station Antennas, transmitting the purchase orders to Defendant

   Rosenberger Site Solutions, LLC, invoicing T-Mobile, collecting payments, and
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   forwarding the payments to Defendant Rosenberger Site Solutions, LLC

   (collectively, “Invoicing Activities”), and refers to the relevant documents for their

   contents.

         121. CellMax denies the allegations contained in paragraph 121 of the

   Second Amended Complaint.

   IV.   The Individual Defendants’ Breach of their Agreements with
         CommScope

   The Individual Defendants’ Employment with CommScope
         122. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 122 of the Second Amended

   Complaint.

         123. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 123 of the Second Amended

   Complaint, and refers to the relevant documents for their contents.

         124. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 124 of the Second Amended

   Complaint, and refers to the relevant documents for their contents.

         125. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 125 of the Second Amended

   Complaint, and refers to the relevant documents for their contents.
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         126. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 126 of the Second Amended

   Complaint.

         127. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 127 of the Second Amended

   Complaint.

         128. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 128 of the Second Amended

   Complaint, and refers to the relevant documents for their contents.

         129. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 129 of the Second Amended

   Complaint, and refers to the relevant documents for their contents.

         130. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 130 of the Second Amended

   Complaint, and refers to the relevant documents for their contents.

         131. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 131 of the Second Amended

   Complaint, and refers to the relevant documents for their contents.
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         132. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 132 of the Second Amended

   Complaint.

         133. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 133 of the Second Amended

   Complaint.

         134. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 134 of the Second Amended

   Complaint, and refers to the relevant documents for their contents.

         135. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 135 of the Second Amended

   Complaint, and refers to the relevant documents for their contents.

         136. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 136 of the Second Amended

   Complaint.

         137. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 137 of the Second Amended

   Complaint.
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         138. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 138 of the Second Amended

   Complaint, and refers to the relevant documents for their contents.

     Javier and Cameron Solicit T-Mobile’s Antennas Business for Rosenberger

         139. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 139 of the Second Amended

   Complaint.

         140. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 140 of the Second Amended

   Complaint.

         141. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 141 of the Second Amended

   Complaint.

         142. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 142 of the Second Amended

   Complaint, and refers to the relevant documents for their contents.

         143. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 143 of the Second Amended

   Complaint.
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         144. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 144 of the Second Amended

   Complaint.

         145. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 145 of the Second Amended

   Complaint.

         146. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 146 of the Second Amended

   Complaint.

                        Javier Solicits CommScope Employees

         147. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 147 of the Second Amended

   Complaint.

            Javier and Cameron Violate their Non-Disclosure Agreements

         148. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 148 of the Second Amended

   Complaint.

         149. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 149 of the Second Amended

   Complaint.
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   Javier and Cameron Use CommScope Trade Secrets for Rosenberger’s Benefit

         150. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 150 of the Second Amended

   Complaint.

         151. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 151 of the Second Amended

   Complaint.

         152. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 152 of the Second Amended

   Complaint, and refers to the relevant documents for their contents.

    Rosenberger’s Knowledge of Javier and Cameron’s Employment Agreements

         153. CellMax denies the allegations contained in paragraph 153 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         154. CellMax denies the allegations contained in paragraph 154 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         155. CellMax denies the allegations contained in paragraph 155 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.
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         156. CellMax denies the allegations contained in paragraph 156 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         157. CellMax denies the allegations contained in paragraph 157 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         158. CellMax denies the allegations contained in paragraph 158 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants, admits that it had limited

   involvement with Rosenberger Site Solutions, LLC’s sale of Rosenberger Base

   Station Antennas to T-Mobile, which was limited to receiving purchase orders

   from T-Mobile for the Rosenberger Base Station Antennas, transmitting the

   purchase orders to Defendant Rosenberger Site Solutions, LLC, invoicing T-

   Mobile, collecting payments, and forwarding the payments to Defendant

   Rosenberger Site Solutions, LLC (collectively, “Invoicing Activities”), and refers

   to the relevant document for its contents.

    V.    Rosenberger Employees’ Deletion of Relevant Evidence in Violation of
                    the Court’s Evidence Preservation Order

         159. CellMax denies the allegations contained in paragraph 159 of the

   Second Amended Complaint, and refers to the Evidence Preservation Order for its

   contents.
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         160. CellMax denies the allegations contained in paragraph 160 of the

   Second Amended Complaint, and refers to the Evidence Preservation Order for its

   contents.

         161. CellMax denies the allegations contained in paragraph 161 as to itself,

   except admits that it has access to the Evidence Preservation Order and refers to

   the Evidence Preservation Order for its contents, and denies knowledge or

   information sufficient to form a belief as to the acts of any other Defendants.

         162. CellMax denies the allegations contained in paragraph 162 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         163. CellMax denies the allegations contained in paragraph 163 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         164. CellMax denies the allegations contained in paragraph 164 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         165. CellMax denies the allegations contained in paragraph 165 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.
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         166. CellMax denies the allegations contained in paragraph 166 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         167. CellMax denies the allegations contained in paragraph 167 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         168. CellMax denies the allegations contained in paragraph 168 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         169. CellMax denies the allegations contained in paragraph 169 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         170. CellMax denies the allegations contained in paragraph 170 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         171. CellMax denies the allegations contained in paragraph 171 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.
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          172. CellMax denies the allegations contained in paragraph 172 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

          173. CellMax denies the allegations contained in paragraph 173 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

          174. CellMax denies the allegations contained in paragraph 174 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

          175. CellMax denies the allegations contained in paragraph 175 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

                             COUNT I
   VIOLATION OF THE DEFEND TRADE SECRETS ACT, 18 U.S.C. 1836(b)
                      (Against All Defendants)


          176. CellMax repeats and realleges its responses to all previous paragraphs

   as if set forth at length herein.

          177. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 177 of the Second Amended

   Complaint.
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         178. CellMax denies the allegations contained in paragraph 178 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         179. CellMax denies the allegations contained in paragraph 179 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         180. CellMax denies the allegations contained in paragraph 180 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         181. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 181 of the Second Amended

   Complaint.

         182. CellMax denies the allegations contained in paragraph 182 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants or CommScope.

         183. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 183 of the Second Amended

   Complaint.
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         184. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 184 of the Second Amended

   Complaint.

         185. CellMax denies the allegations contained in paragraph 185 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         186. CellMax denies the allegations contained in paragraph 186 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         187. CellMax denies the allegations contained in paragraph 187 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         188. CellMax denies the allegations contained in paragraph 188 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         189. CellMax denies the allegations contained in paragraph 189 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.
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          190. CellMax denies the allegations contained in paragraph 190 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

                           COUNT II
   VIOLATION OF THE NEW JERSEY TRADE SECRETS ACT, N.J.S.A. §§
                             56:15-1
                     (Against All Defendants)

          191. CellMax repeats and realleges its responses to all previous paragraphs

   as if set forth at length herein.

          192. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 192 of the Second Amended

   Complaint.

          193. CellMax denies the allegations contained in paragraph 193 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants or CommScope.

          194. CellMax denies the allegations contained in paragraph 194 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants or CommScope.

          195. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 195 of the Second Amended

   Complaint.
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         196. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 196 of the Second Amended

   Complaint.

         197. CellMax denies the allegations contained in paragraph 197 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         198. CellMax denies the allegations contained in paragraph 198 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants or CommScope.

         199. CellMax denies the allegations contained in paragraph 199 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants or CommScope.

         200. CellMax denies the allegations contained in paragraph 200 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants or CommScope.

         201. CellMax denies the allegations contained in paragraph 201 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants or CommScope.

                                 COUNT III
                   MISAPPROPRIATION OF TRADE SECRETS
                           (Against All Defendants)
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          202. CellMax repeats and realleges its responses to all previous paragraphs

   as if set forth at length herein.

          203. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 203 of the Second Amended

   Complaint.

          204. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 204 of the Second Amended

   Complaint.

          205. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 205 of the Second Amended

   Complaint.

          206. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 206 of the Second Amended

   Complaint.

          207. CellMax denies the allegations contained in paragraph 207 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

          208. CellMax denies the allegations contained in paragraph 208 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants or CommScope.
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          209. CellMax denies the allegations contained in paragraph 209 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants or CommScope.

          210. CellMax denies the allegations contained in paragraph 210 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

          211. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 211 of the Second Amended

   Complaint.

          212. CellMax denies the allegations contained in paragraph 212 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants or CommScope.

          213. CellMax denies the allegations contained in paragraph 213 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants or CommScope.

                             COUNT IV
          MISAPPROPRIATION OF CONFIDENTIAL INFORMATION
                       (Against All Defendants)

          214. CellMax repeats and realleges its responses to all previous paragraphs

   as if set forth at length herein.
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         215. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 215 of the Second Amended

   Complaint.

         216. CellMax denies the allegations contained in paragraph 216 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants or CommScope.

         217. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 217 of the Second Amended

   Complaint.

         218. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 218 of the Second Amended

   Complaint.

         219. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 219 of the Second Amended

   Complaint.

         220. CellMax denies the allegations contained in paragraph 220 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants or CommScope.
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          221. CellMax denies the allegations contained in paragraph 221 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants or CommScope.

          222. CellMax denies the allegations contained in paragraph 222 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants or CommScope.

          223. CellMax denies the allegations contained in paragraph 223 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants or CommScope.

                                        COUNT V
                              BREACH OF CONTRACT
                           (Against the Individual Defendants)

          224. CellMax repeats and realleges its responses to all previous paragraphs

   as if set forth at length herein.

          225. CellMax is not required to respond to the allegations contained in

   paragraph 225 because CommScope does not assert this Count against CellMax.

   To the extent a response is required, CellMax denies knowledge or information

   sufficient to form a belief as to the allegations contained in this paragraph, and

   refers to the relevant documents for their contents.

          226. CellMax is not required to respond to the allegations contained in

   paragraph 226 because CommScope does not assert this Count against CellMax.
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   To the extent a response is required, CellMax denies knowledge or information

   sufficient to form a belief as to the allegations contained in this paragraph, and

   refers to the relevant documents for their contents.

         227. CellMax is not required to respond to the allegations contained in

   paragraph 227 because CommScope does not assert this Count against CellMax.

   To the extent a response is required, CellMax denies knowledge or information

   sufficient to form a belief as to the allegations contained in this paragraph, and

   refers to the relevant documents for their contents.

         228. CellMax is not required to respond to the allegations contained in

   paragraph 228 because CommScope does not assert this Count against CellMax.

   To the extent a response is required, CellMax denies knowledge or information

   sufficient to form a belief as to the allegations contained in this paragraph, and

   refers to the relevant documents for their contents.

         229. CellMax is not required to respond to the allegations contained in

   paragraph 229 because CommScope does not assert this Count against CellMax.

   To the extent a response is required, CellMax denies knowledge or information

   sufficient to form a belief as to the allegations contained in this paragraph, and

   refers to the relevant documents for their contents.

         230. CellMax is not required to respond to the allegations contained in

   paragraph 230 because CommScope does not assert this Count against CellMax.
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   To the extent a response is required, CellMax denies knowledge or information

   sufficient to form a belief as to the allegations contained in this paragraph, and

   refers to the relevant documents for their contents.

         231. CellMax is not required to respond to the allegations contained in

   paragraph 231 because CommScope does not assert this Count against CellMax.

   To the extent a response is required, CellMax denies knowledge or information

   sufficient to form a belief as to the allegations contained in this paragraph, and

   refers to the relevant documents for their contents.

         232. CellMax is not required to respond to the allegations contained in

   paragraph 232 because CommScope does not assert this Count against CellMax.

   To the extent a response is required, CellMax denies knowledge or information

   sufficient to form a belief as to the allegations contained in this paragraph, and

   refers to the relevant documents for their contents.

         233. CellMax is not required to respond to the allegations contained in

   paragraph 233 because CommScope does not assert this Count against CellMax.

   To the extent a response is required, CellMax denies knowledge or information

   sufficient to form a belief as to the allegations contained in this paragraph, and

   refers to the relevant documents for their contents.

         234. CellMax is not required to respond to the allegations contained in

   paragraph 234 because CommScope does not assert this Count against CellMax.
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   To the extent a response is required, CellMax denies knowledge or information

   sufficient to form a belief as to the allegations contained in this paragraph, and

   refers to the relevant documents for their contents.

         235. CellMax is not required to respond to the allegations contained in

   paragraph 235 because CommScope does not assert this Count against CellMax.

   To the extent a response is required, CellMax denies the allegations contained in

   this paragraph, except denies knowledge or information sufficient to form a belief

   as to the acts of any other Defendants.

         236. CellMax is not required to respond to the allegations contained in

   paragraph 236 because CommScope does not assert this Count against CellMax.

   To the extent a response is required, CellMax denies knowledge or information

   sufficient to form a belief as to the allegations contained in this paragraph.

         237. CellMax is not required to respond to the allegations contained in

   paragraph 237 because CommScope does not assert this Count against CellMax.

   To the extent a response is required, CellMax denies knowledge or information

   sufficient to form a belief as to the allegations contained in this paragraph, and

   refers to the relevant documents for their contents.

         238. CellMax is not required to respond to the allegations contained in

   paragraph 238 because CommScope does not assert this Count against CellMax.

   To the extent a response is required, CellMax denies knowledge or information
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   sufficient to form a belief as to the allegations contained in this paragraph, and

   refers to the relevant documents for their contents.

                                  COUNT VI
               BREACH OF THE FIDUCIARY DUTY OF LOYALTY
                      (Against the Individual Defendants)

          239. CellMax repeats and realleges its responses to all previous paragraphs

   as if set forth at length herein.

          240. CellMax is not required to respond to the allegations contained in

   paragraph 240 because CommScope does not assert this Count against CellMax

   and it also states a legal conclusion. To the extent a response is required, CellMax

   denies the allegations contained in this paragraph, and refers to the relevant law.

          241. CellMax is not required to respond to the allegations contained in

   paragraph 241 because CommScope does not assert this Count against CellMax.

   To the extent a response is required, CellMax denies the allegations contained in

   this paragraph, except denies knowledge or information sufficient to form a belief

   as to the acts of any other Defendants.

          242. CellMax is not required to respond to the allegations contained in

   paragraph 242 because CommScope does not assert this Count against CellMax.

   To the extent a response is required, CellMax denies the allegations contained in

   this paragraph, except denies knowledge or information sufficient to form a belief

   as to the acts of any other Defendants.
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         243. CellMax is not required to respond to the allegations contained in

   paragraph 243 because CommScope does not assert this Count against CellMax.

   To the extent a response is required, CellMax denies the allegations contained in

   this paragraph, except denies knowledge or information sufficient to form a belief

   as to the acts of any other Defendants.

         244. CellMax is not required to respond to the allegations contained in

   paragraph 244 because CommScope does not assert this Count against CellMax.

   To the extent a response is required, CellMax denies the allegations contained in

   this paragraph, except denies knowledge or information sufficient to form a belief

   as to the acts of any other Defendants.

         245. CellMax is not required to respond to the allegations contained in

   paragraph 245 because CommScope does not assert this Count against CellMax.

   To the extent a response is required, CellMax denies the allegations contained in

   this paragraph, except denies knowledge or information sufficient to form a belief

   as to the acts of any other Defendants.

         246. CellMax is not required to respond to the allegations contained in

   paragraph 246 because CommScope does not assert this Count against CellMax.

   To the extent a response is required, CellMax denies the allegations contained in

   this paragraph, except denies knowledge or information sufficient to form a belief

   as to the acts of any other Defendants or CommScope.
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                                    COUNT VII
                 TORTIOUS INTERFERENCE WITH CONTRACT
                  (Against Javier and All Rosenberger Defendants)

          247. CellMax repeats and realleges its responses to all previous paragraphs

   as if set forth at length herein.

          248. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 248, except admits that it was not party

   to any agreement between CommScope and any other Defendant.

          249. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 249.

          250. CellMax denies the allegations contained in paragraph 250, except

   denies knowledge or information sufficient to form a belief as to the acts of any

   other Defendants.

          251. CellMax denies the allegations contained in paragraph 251, except

   denies knowledge or information sufficient to form a belief as to the acts of any

   other Defendants.

          252. CellMax is not required to respond to the allegations contained in

   paragraph 252 because it is premised on a legal conclusion. To the extent a

   response is required, CellMax denies the allegations contained in paragraph 252,

   and refers to the relevant law.
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         253. CellMax denies the allegations contained in paragraph 253, except

   denies knowledge or information sufficient to form a belief as to the acts of any

   other Defendants.

         254. CellMax denies the allegations contained in paragraph 254, except

   denies knowledge or information sufficient to form a belief as to the acts of any

   other Defendants.

         255. CellMax denies the allegations contained in paragraph 255, except

   denies knowledge or information sufficient to form a belief as to the acts of any

   other Defendants.

         256. CellMax denies the allegations contained in paragraph 256, except

   denies knowledge or information sufficient to form a belief as to the acts of any

   other Defendants.

         257. CellMax denies the allegations contained in paragraph 257, except

   denies knowledge or information sufficient to form a belief as to the acts of any

   other Defendants.

         258. CellMax denies the allegations contained in paragraph 258, except

   denies knowledge or information sufficient to form a belief as to the acts of any

   other Defendants.
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          259. CellMax denies the allegations contained in paragraph 259, except

   denies knowledge or information sufficient to form a belief as to the acts of any

   other Defendants.

          260. CellMax denies the allegations contained in paragraph 260, except

   denies knowledge or information sufficient to form a belief as to the acts of any

   other Defendants.

          261. CellMax denies the allegations contained in paragraph 261, except

   denies knowledge or information sufficient to form a belief as to the acts of any

   other Defendants.

                                       COUNT VIII
                                 UNFAIR COMPETITION
                                  (Against All Defendants)

          262. CellMax repeats and realleges its responses to all previous paragraphs

   as if set forth at length herein.

          263. CellMax is not required to respond to the allegations contained in

   paragraph 263 because it is premised on a legal conclusion. To the extent a

   response is required, CellMax denies the allegations contained in this paragraph,

   except denies knowledge or information sufficient to form a belief as to the acts of

   any other Defendants.

          264. CellMax is not required to respond to the allegations contained in

   paragraph 264 because it is premised on a legal conclusion. To the extent a
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   response is required, CellMax denies the allegations contained in this paragraph,

   except denies knowledge or information sufficient to form a belief as to the acts of

   any other Defendants.

         265. CellMax denies knowledge or information sufficient to form a belief

   as to the allegations contained in paragraph 265 of the Second Amended

   Complaint, and refers to the relevant documents for their contents.

         266. CellMax is not required to respond to the allegations contained in

   paragraph 266 because it is premised on a legal conclusion. To the extent a

   response is required, CellMax denies the allegations contained in this paragraph,

   except denies knowledge or information sufficient to form a belief as to the acts of

   any other Defendants.

         267. CellMax denies the allegations contained in paragraph 267 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         268. CellMax denies the allegations contained in paragraph 268 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         269. CellMax denies the allegations contained in paragraph 269 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.
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          270. CellMax denies the allegations contained in paragraph 270 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

          271. CellMax denies the allegations contained in paragraph 271 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

          272. CellMax denies the allegations contained in paragraph 272 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

                                        COUNT XI
                                   CIVIL CONSPIRACY
                                  (Against All Defendants)

          273. CellMax repeats and realleges its responses to all previous paragraphs

   as if set forth at length herein.

          274. CellMax is not required to respond to the allegations contained in

   paragraph 274 because it is premised on a legal conclusion. To the extent a

   response is required, CellMax denies the allegations contained in this paragraph.

          275. CellMax denies the allegations contained in paragraph 275 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.
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          276. CellMax denies the allegations contained in paragraph 276 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

          277. CellMax denies the allegations contained in paragraph 277 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

                                   COUNT XII
                  FRAUDULENT CONCEALMENT (SPOLIATION)
                      (Against All Rosenberger Defendants)

          278. CellMax repeats and realleges its responses to all previous paragraphs

   as if set forth at length herein.

          279. CellMax is not required to respond to the allegations contained in

   paragraph 279 because it is premised on a legal conclusion. To the extent a

   response is required, CellMax denies the allegations contained in this paragraph

   and refers to the applicable law for its contents.

          280. CellMax is not required to respond to the allegations contained in

   paragraph 280 because it is premised on a legal conclusion. To the extent a

   response is required, CellMax denies the allegations contained in this paragraph

   and refers to the applicable law for its contents.
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         281. CellMax denies the allegations contained in paragraph 281 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         282. CellMax denies the allegations contained in paragraph 282 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         283. CellMax denies the allegations contained in paragraph 283 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         284. CellMax denies the allegations contained in paragraph 284 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         285. CellMax denies the allegations contained in paragraph 285 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         286. CellMax denies the allegations contained in paragraph 286 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.
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         287. CellMax denies the allegations contained in paragraph 287 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

         288. CellMax denies the allegations contained in paragraph 288 of the

   Second Amended Complaint, except denies knowledge or information sufficient to

   form a belief as to the acts of any other Defendants.

                              AFFIRMATIVE DEFENSES

         1.     Plaintiff’s claims are barred in whole or in part because the Second

   Amended Complaint fails to state a claim upon which relief can be granted.

         2.     CellMax had no involvement in designing or manufacturing the

   Rosenberger Base Station Antennas at issue in this case. CellMax’s involvement

   with the Rosenberger Base Station Antennas at issue in this case was limited to

   receiving purchase orders from T-Mobile for the Rosenberger Base Station

   Antennas, transmitting the purchase orders to Defendant Rosenberger Site

   Solutions, LLC, invoicing T-Mobile, collecting payments, and forwarding the

   payments to Defendant Rosenberger Site Solutions, LLC (“Invoicing Activities”).

         3.     Plaintiff’s claims are barred in whole or in part by applicable statutes

   of limitations, laches, and the statute of repose.

         4.     Plaintiff’s claims are barred in whole or in part by the doctrines of

   waiver, consent, release, estoppel, unclean hands, and/or ratification.
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         5.     Plaintiff’s claims are barred in whole or in part because Plaintiff has

   not demonstrated it is the owner of some or all of what it claims to be trade secrets

   or confidential information.

         6.     Plaintiff’s claims are barred in whole or in part because Plaintiff has

   not identified the specific trade secrets allegedly misappropriated and used by

   CellMax.

         7.     Some or all of what Plaintiff claims to be trade secrets either are not

   trade secrets or no longer are trade secrets, including but not limited to because

   they have been disclosed to the public, are generally known, are readily

   ascertainable by proper means, are not valuable business information, does not

   derive independent economic value from not being generally known to the public,

   or were not subject to reasonable efforts to maintain their secrecy.

         8.     Some or all of what Plaintiff claims to be confidential information

   either is not confidential information or no longer is confidential information.

         9.     Plaintiff’s claims are barred in whole or in part because Plaintiff has

   not demonstrated how it has suffered damages and/or how any conduct by

   CellMax proximately caused its damages.

         10.    Plaintiff failed to mitigate its damages.

         11.    CellMax never had possession, custody, control, or knowledge of one

   or more of the purported trade secrets at issue in this case.
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         12.    CellMax did not hire and had no involvement with one or more of the

   other Defendants’ hiring of Defendant Janet Javier.

         13.    CellMax did not hire and had no involvement with one or more of the

   other Defendants’ hiring of Defendant Robert Cameron.

         14.    To the extent any other Defendant misappropriated Plaintiff’s trade

   secret or confidential information, CellMax had no involvement or knowledge of

   one or more of these instances.

         15.    To the extent one or more of the Rosenberger Base Station Antennas

   for which CellMax performed Invoicing Activities was designed or manufactured

   using Plaintiff’s trade secrets, CellMax was unaware and should not have been

   aware.

         16.    Plaintiff’s claims under United States or state law have no

   extraterritorial effect and Plaintiff is barred from asserting such claims concerning

   conduct outside the United States.

         17.    Any decision by a court outside the United States, or agreement

   entered into by the parties outside the United States, should be given deference as a

   matter of comity.

         18.    CellMax hereby adopts by reference any additional applicable defense

   pleaded by any other defendant and not otherwise pleaded herein, as well as any

   defense available under the statutes relied upon by Plaintiff. CellMax intends to
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   reply upon any additional defense that is now or may become available or appears

   during or as a result of the discovery proceedings in this action and expressly

   reserves its right to amend its answer to assert any such defense.

   Dated: August 23, 2021                        __/s Mark S. Pincus___________
                                                 Mark S. Pincus
                                                 PINCUS LAW LLC
                                                 90 Broad Street, 23rd Floor
                                                 New York, New York 10004
                                                 (212) 962-2900
                                                 mark@pincus-law.com
                                                 Attorneys for Defendant CellMax
                                                 Technologies AB
